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                        Exhibit 2

             Docket Sheet and Complaint
        Flores v. Costco Wholesale Corporation,
             No 5:23-cv-05367 (N.D. Cal.)
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                                                                                                    ADRMOP
                                      U.S. District Court
                           California Northern District (San Jose)
                     CIVIL DOCKET FOR CASE #: 5:23−cv−05367−SVK

Flores v. Costco Wholesale Corporation                            Date Filed: 10/19/2023
Assigned to: Magistrate Judge Susan van Keulen                    Jury Demand: Plaintiff
Cause: 28:1332 Diversity−Fraud                                    Nature of Suit: 370 Other Fraud
                                                                  Jurisdiction: Diversity
Plaintiff
Eduardo Flores                                     represented by L Timothy Fisher
                                                                  BURSOR & FISHER, P.A.
                                                                  Suite 940
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                                                                  Walnut Creek, CA 94596
                                                                  (925) 300−4455
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                                                                  LEAD ATTORNEY
                                                                  ATTORNEY TO BE NOTICED

                                                                   Sarah Nicole Westcot
                                                                   Bursor & Fisher P.A.
                                                                   701 Brickell Avenue
                                                                   Suite 1420
                                                                   Miami, FL 33131
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                                                                   ATTORNEY TO BE NOTICED


V.
Defendant
Costco Wholesale Corporation


 Date Filed      #    Docket Text
 10/19/2023       1 COMPLAINT against Costco Wholesale Corporation ( Filing fee $ 402, receipt
                    number ACANDC−18755624.). Filed byEduardo Flores. (Attachments: # 1 Civil
                    Cover Sheet)(Westcot, Sarah) (Filed on 10/19/2023) (Entered: 10/19/2023)
 10/19/2023       2 Proposed Summons. (Westcot, Sarah) (Filed on 10/19/2023) (Entered: 10/19/2023)
 10/20/2023       3 Case assigned to Magistrate Judge Susan van Keulen.

                      Counsel for plaintiff or the removing party is responsible for serving the Complaint or
                      Notice of Removal, Summons and the assigned judge's standing orders and all other
                      new case documents upon the opposing parties. For information, visit E−Filing A New
                      Civil Case at http://cand.uscourts.gov/ecf/caseopening.

                      Standing orders can be downloaded from the court's web page at
                      www.cand.uscourts.gov/judges. Upon receipt, the summons will be issued and
                      returned electronically. A scheduling order will be sent by Notice of Electronic Filing
                      (NEF) within two business days. Consent/Declination due by 11/3/2023. (ark, COURT
                      STAFF) (Filed on 10/20/2023) (Entered: 10/20/2023)
 10/23/2023       4 Summons Issued as to Costco Wholesale Corporation. (ark, COURT STAFF) (Filed
                    on 10/23/2023) (Entered: 10/23/2023)
 10/23/2023       5 Initial Case Management Scheduling Order with ADR Deadlines: Case
                    Management Statement due by 1/16/2024. Initial Case Management Conference
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         set for 1/23/2024 09:30 AM in San Jose, Courtroom 6, 4th Floor. (ark, COURT
         STAFF) (Filed on 10/23/2023) (Entered: 10/23/2023)
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 9   Counsel for Plaintiff

10

11                              UNITED STATES DISTRICT COURT

12                           NORTHERN DISTRICT OF CALIFORNIA

13

14   EDUARDO FLORES, individually and on behalf     Case No.
     of all others similarly situated,
15
                                       Plaintiff,   CLASS ACTION COMPLAINT
16
            v.
17                                                  JURY TRIAL DEMANDED
     COSTCO WHOLESALE CORPORATION,
18
                                       Defendant.
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 1             Plaintiff Eduardo Flores (“Plaintiff”) brings this action on behalf of himself and all others

 2   similarly situated against Defendant Costco Wholesale Corporation (“Defendant”). Plaintiff makes

 3   the following allegations pursuant to the investigation of his counsel and based upon information and

 4   belief, except as to allegations specifically pertaining to himself and his counsel, which are based on

 5   personal knowledge.

 6                                       NATURE OF THE ACTION

 7             1.     Nasal decongestants are over-the-counter medications that are marketed to alleviate

 8   sinus pressure and sinus congestion.

 9             2.     Defendant has made millions of dollars selling its nasal decongestant product:

10   Kirkland Multi-Symptom Cold & Flu Severe (the “Product”).

11             3.     Defendant markets the Product as having the ability to provide relief to nasal

12   congestion.

13             4.     Defendant attributes the Product’s ability to provide nasal decongestion relief to the

14   inclusion of one active ingredient: Phenylephrine (“PE”).

15             5.     PE, however, is ineffective at providing nasal decongestion relief when it is taken

16   orally.

17             6.     Indeed, on September 12, 2023, an advisory panel to the U.S. Food & Drug

18   Administration (“FDA”) unanimously agreed (16-0) that oral PE is not effective at relieving nasal

19   congestion.

20             7.     Accordingly, Defendant’s marketing and advertising concerning the Product is

21   false, misleading, and likely to deceive the public.

22             8.     Plaintiff asserts claims on behalf of himself and similarly situated purchasers of

23   Defendant’s Product for violations of the California Consumers Legal Remedies Act (“CLRA”),

24   Civil Code §§ 1750, et seq., Unfair Competition Law (“UCL”), Bus. & Prof. Code §§ 17200, et

25   seq., False Advertising Law (“FAL”), Bus. & Prof. Code §§ 17500, et seq.,, breach of implied

26   warranty of merchantability, and unjust enrichment.

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 1                                               PARTIES

 2          9.      Plaintiff is a resident of San Jose, California, has an intent to remain there, and is

 3   therefore a domiciliary of California.

 4          10.     Plaintiff purchased the Kirkland Multi-Symptom Cold & Flu Severe product

 5   multiple times. His most recent purchase was in 2022 at a Costco in San Jose, California. Before

 6   purchasing the Product, Plaintiff reviewed information about the Product, including the

 7   representation that the Product would be able to provide nasal congestion relief. When reviewing

 8   the Product label, disclosures, warranties, and marketing materials, Plaintiff understood them as

 9   representations and warranties by Defendant that the Product would be able to provide nasal

10   decongestion relief.

11          11.     Plaintiff relied on Defendant’s representations and warranties in deciding to purchase

12   the Product over other nasal decongestant products. Accordingly, Defendant’s representations and

13   warranties were part of the basis of the bargain, in that he would not have purchased the Product on

14   the same terms had he known Defendant’s representations were not true.

15          12.     Contrary to the representations on the Product’s marketing materials, the Product was

16   not able to provide nasal decongestion relief. Plaintiff therefore did not receive the benefit of his

17   bargain.

18          13.     Defendant Costco Wholesale Corporation is a Washington corporation, with its

19   headquarters in Issaquah, Washington. Defendant manufactures, markets, and sells the Product

20   throughout the state of California and the United States.

21                                    JURISDICTION AND VENUE

22          14.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(d)(2)(A)

23   because this case is a class action where the aggregate claims of all members of the proposed class

24   are in excess of $5,000,000.00, exclusive of interest and costs, there are over 100 members of the

25   putative class, and Plaintiff, as well as most members of the proposed class, are citizens of states

26   different than Defendant.

27          15.     The Court has personal jurisdiction over Defendant because Defendant conducts

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 1   substantial business within California, such that Defendant has significant, continuous, and

 2   pervasive contacts with the State of California. Moreover, Defendant has purposefully availed

 3   itself of the laws and benefits of doing business in California, and Plaintiff’s claims arise out of the

 4   Defendant’s forum-related activities.

 5           16.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because Defendant

 6   transacts significant business within this District and because Plaintiff purchased and used the

 7   Product in this District.

 8                                      FACTUAL ALLEGATIONS

 9   The Market For Decongestants

10           17.     The market for products that allegedly relieve nasal congestion is worth over $2

11   billion annually and includes over 250 products.

12           18.     The two leading ingredients used to provide relief from nasal congestion are PE and

13   pseudoephedrine. These active ingredients are sold as the only active ingredient in some products,

14   and as one of the active ingredients in multi-symptom products.

15           19.     While pseudoephedrine is effective as a nasal decongestant when taken orally, PE

16   accounts for approximately 80% of the market for over-the-counter decongestants. In the last year

17   alone, nearly $1.8 billion of PE-based decongestants were sold.

18   Defendant’s False Advertising

19           20.     Defendant markets, sells, and distributes the Product through numerous brick-and-

20   mortar stores as well as online. On the Product’s packaging, Defendant represents that the Product

21   is able to provide relief to “Nasal Congestion.”

22           21.     By way of example, the Product is depicted below:

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11          22.     By representing that the Product is an effective remedy for “Nasal Congestion,”

12   Defendant induced reasonable consumers, such as Plaintiff and the proposed class members into

13   believing that the Product was effective at providing nasal decongestion relief.              Those

14   representations, however, are false and misleading, as set forth in greater detail below.

15   The Products’ Use of Phenylephrine

16          23.     Defendant’s Product attributes the ability to provide nasal decongestion relief to one

17   active ingredient: PE.

18          24.     Defendant does not attribute nasal decongestant relief to any other ingredient in the

19   Product.

20   Phenylephrine Does Not Provide Nasal Decongestant Relief When Taken Orally

21          25.     PE is ineffective at providing nasal decongestant relief when taken orally. All

22   available scientific authorities support this conclusion.

23          26.     For example, on May 1, 2006, two professors at the University of Florida, Dr. Leslie

24   Hendeles, PharmD Professor, Pharmacy and Pediatrics, and Dr. Randy Hatton, PharmD FCCP

25   BCPS Clinical Professor, Department of Pharmacotherapy and Translational Research College of

26   Pharmacy published a letter in Journal of Allergy and Clinical Immunology titled: Oral

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 1   phenylephrine: An ineffective replacement for pseudophedrine? 1        The letter questioned the

 2   effectiveness of PE for nasal congestion based upon the results of multiple double blind, placebo-

 3   controlled studies, that show PE was no more effective than placebo in reducing nasal airway

 4   resistance. Moreover, the letter notes that the studies relied on by the FDA to approve PE were

 5   unpublished, manufacturer-sponsored studies conducted by commercial testing laboratories.

 6          27.     On February 1, 2007, three professors from the University of Florida, Dr. Leslie

 7   Hendeles, PharmD Professor, Pharmacy and Pediatrics, Dr. Randy Hatton, PharmD FCCP BCPS

 8   Clinical Professor, Department of Pharmacotherapy and Translational Research College of

 9   Pharmacy, and Almut G. Winterstein (PhD, Assistant Professor, Department of Healthcare

10   Administration) filed a Citizens Petition with the FDA concerning PE drugs. 2

11          28.     As a result of the 2007 Citizens Petition, the FDA’s Nonprescription Drugs

12   Advisory Committee met on December 14, 2007 and concluded that the products could continue

13   to be sold, but 9 of 12 of the committee members voted that “new studies on response to higher

14   doses were required.” 3

15          29.     Scherling-Plough Pharmaceuticals responded to the FDA’s Nonprescription Drugs

16   Advisory Committee by conducting a multicenter, phase 2, trial among 539 adults with seasonal

17   allergic rhinitis. The results of the study revealed no significant differences between placebo and

18   active treatment groups. 4

19          30.     In addition, McNeil Consumer Healthcare conducted a pharmacokinetic, safety and

20   cardiovascular tolerability study of phenylephrine. Similarly, this study revealed no difference in

21   safety endpoints between placebo and 10, 20, and 30 mg of phenylephrine even though systemic

22   exposure increased disproportionately with dose. “This is noteworthy since both the relief of

23   congestion and systemic endpoints such as change in blood pressure and pulse are mediated by

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     1
       https://www.jacionline.org/article/S0091-6749(06)00633-6/fulltext (last accessed Sept. 18, 2023).
25   2
       https://www.regulations.gov/docket/FDA-2007-P-0108/document (last accessed Sept. 18, 2023).
     3
       https://www.jaci-inpractice.org/article/S2213-2198(15)00318-9/fulltext (last accessed Sept. 18,
26   2023).
     4
       chrome-extension://efaidnbmnnnibpcajpcglclefindmkaj/https://truthinadvertising.org/wp-
27   content/uploads/2023/02/Hatton-Hendeles-2015-Citizens-Petition-re-oral-phenylephrine.pdf (last
     accessed Sept. 15, 2023).
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 1   alpha adrenergic stimulation. The absence of a significant effect on the latter at the higher doses

 2   suggest that the concentrations reached are not sufficient to stimulate alpha adrenergic receptors.” 5

 3           31.    On November 4, 2015, another Citizens Petition was filed by two professors at the

 4   University of Florida, Dr. Leslie Hendeles, PharmD Professor, Pharmacy and Pediatrics, and Dr.

 5   Randy Hatton, PharmD FCCP BCPS Clinical Professor, Department of Pharmacotherapy and

 6   Translational Research College of Pharmacy. The petition asked the FDA “to remove oral

 7   phenylephrine from the Final Monograph for OTC nasal decongestant products.” 6 Specifically,

 8   the petition asked the FDA to remove Phenylephrine and to remove phenylephrine bitartrate, “both

 9   individually and in combination drug products in an effervescent dosage form.” 7

10           32.    According to the 2015 Citizens Petition, “[t]wo additional studies published in 2009

11   provide further evidence of the absence of a decongestant effect from the FDA-approved

12   nonprescription does of 10mg,” and “PE was not significantly different from placebo in the mean

13   change in subjective nasal congestion scores whereas pseudoephedrine, a positive control in the

14   study, decreased congestion significantly greater than placebo and PE.” 8

15   The FDA Advisory Panel’s Recent Vote on PE

16           33.    Recently, “[t]he FDA held a Non-prescription Drug Advisory Committee meeting

17   … to discuss the effectiveness of oral phenylephrine as an active ingredient in over-the-counter

18   (OTC) cough and cold products that are indicated for the temporary relief of congestion, both as a

19   single ingredient product and in combination with other ingredients.” 9

20           34.    In doing so, the Panel referenced numerous studies demonstrating that PE is not

21   effective for treating nasal congestion when taken orally.

22           35.    As a result, the Panel concluded that “the current scientific data do[es] not support

23   that the recommended dosage of orally administered phenylephrine is effective as a nasal

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     5
       Id.
25   6
       https://truthinadvertising.org/wp-content/uploads/2023/02/Hatton-Hendeles-2015-Citizens-
     Petition-re-oral-phenylephrine.pdf (last accessed Sept. 18, 2023).
26   7
       Id.
     8
       Id.
27   9
       https://www.fda.gov/drugs/drug-safety-and-availability/fda-clarifies-results-recent-advisory-
     committee-meeting-oral-phenylephrine (last accessed Sept. 15, 2023).
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 1   decongestant.” 10

 2          36.     In fact, the Panel members voted unanimously (16-0) that PE drugs were ineffective

 3   when taken orally.

 4   Misbranded Drugs Are Illegal to Sell

 5          37.     As OTC drug products regulated by the FDA, the Product must be both safe and

 6   effective and are subject to federal current Good Manufacturing Practices (“cGMP”) regulations and

 7   the FDCA’s state law analogues. These cGMP regulations require OTC medications like the

 8   Products to meet safety, quality, purity, identity, and strength standards. See 21 U.S.C.

 9   § 351(a)(2)(B).

10          38.     The cGMPs establish “minimum current good manufacturing practice for methods to

11   be used in, and the facilities or controls to be used for, the manufacture, processing, packing, or

12   holding of a drug to assure that such drug meets the requirements of the act as to safety, and has the

13   identity and strength and meets the quality and purity characteristics that it purports or is represented

14   to possess.” 21 C.F.R. § 210.1(a). In other words, manufacturers, like Defendants, at all phases of

15   the design, manufacture, and distribution chain are bound by these requirements.

16          39.     The cGMPs set forth minimum standards regarding: organization and personnel

17   (Subpart B); buildings and facilities (Subpart C); equipment (Subpart D); control of components and

18   drug product containers and closures (Subpart E); production and process controls (Subpart F);

19   packaging and label controls (Subpart G); holding and distribution (Subpart H); laboratory controls

20   (Subpart I); records and reports (Subpart J); and returned and salvaged drug products (Subpart K).

21   The FDA has worldwide jurisdiction to enforce these regulations if the facility is making drugs

22   intended to be distributed in the United States.

23          40.     Any drug product not manufactured in accordance with cGMPs is deemed

24   “adulterated” or “misbranded” and may not be distributed or sold in the United States. See 21 U.S.C.

25   §§ 331(a), 351(a)(2)(B). States have enacted laws adopting or mirroring these federal standards.

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27   10
       https://www.fda.gov/drugs/drug-safety-and-availability/fda-clarifies-results-recent-advisory-
     committee-meeting-oral-phenylephrine (last accessed Sept. 15, 2023).
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 1          41.     FDA regulations require a drug product manufacturer to have “written procedures for

 2   production and process control designed to assure that the drug products have the identity, strength,

 3   quality, and purity they purport or are represented to possess.” 21 C.F.R. § 211.100.

 4          42.     A drug product manufacturer’s “[l]aboratory controls shall include the establishment

 5   of scientifically sound and appropriate specifications, standards, sampling plans, and test procedures

 6   designed to assure that components, drug product containers, closures, in-process materials, labeling,

 7   and drug products conform to appropriate standards of identity, strength, quality, and purity.” 21

 8   C.F.R. § 211.160.

 9          43.     “Laboratory records shall include complete data derived from all tests necessary to

10   assure compliance with established specifications and standards, including examinations and assays”

11   and a “statement of the results of tests and how the results compare with established standards of

12   identity, strength, quality, and purity for the component, drug product container, closure, in-process

13   material, or drug product tested.” 21 C.F.R. § 211.194(a)(6).

14          44.     Defendant could have avoided any potential for misrepresenting the quality

15   characteristics that it represented the Product possessed by testing the effectiveness of PE in the

16   Product for the purported claims on the Product’s labeling.

17          45.     The ineffectiveness of PE in the Product renders the Product both adulterated and

18   misbranded under the FDCA. The Product is adulterated because it is “drug[s] and the methods used

19   in, or the facilities or controls used for, its manufacture, processing, packing, or holding do not

20   conform to or are not operated or administered in conformity with current good manufacturing

21   practice to assure that such drug meets the requirements of this chapter as to safety and has the

22   identity and strength, and meets the quality and purity characteristics, which it purports or is

23   represented to possess.” 21 U.S.C. § 351(a)(1).

24          46.     The Product is misbranded because its labeling is “false” and “misleading” because

25   it does not alleviate nasal congestion. 21 U.S.C. § 352(a)(1).

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 1           47.     A product that is “adulterated” or “misbranded” cannot legally be manufactured,

 2   advertised, distributed, or sold. 21 U.S.C. § 331(a). Adulterated and misbranded products thus have

 3   no economic value and are legally worthless.

 4           48.     As alleged herein, Defendant has violated the FDCA, California’s Consumers Legal

 5   Remedies Act (“CLRA”), California’s Unfair Competition Law (“UCL”), California’s False

 6   Advertising Law (“FAL”), and consumer protection statutes. Defendant engaged in fraudulent,

 7   unfair, deceptive, misleading, and/or unlawful conduct stemming from its misrepresentations and

 8   omissions surrounding the quality and purity characteristics affecting the Product.

 9           49.     If Defendant had disclosed to Plaintiff and putative Class Members that the

10   Product does not have the quality characteristics that it purports or is represented to possess, Plaintiff

11   and      putative    Class     Members        would      not     have     purchased      the     Product

12   or they would have paid less for the Product.

13           50.     As a seller of an OTC drug product, Defendant had and has a duty to ensure that its

14   Product has the identity and strength and meets the quality characteristics that it purports or is

15   represented to possess, including through regular testing, especially before the Product is injected

16   into the stream of commerce for consumers to use on their bodies. But based on the FDA Panel’s

17   conclusions set forth above, Defendant made no reasonable effort to test its Product for the nasal

18   decongestant claims it made. Nor did it disclose to Plaintiff in any advertising or marketing that the

19   Product did not conform to the nasal decongestant claims it purported or represented to possess. To

20   the contrary, Defendant represented and warranted, expressly and impliedly, that the Product was of

21   merchantable quality, complied with federal and state law, and did have the identity and strength and

22   meet the quality characteristics that it purports or is represented to possess.

23   Injuries to Plaintiff and Class Members

24           51.     When Plaintiff purchased Defendant’s Product, Plaintiff did not know, and had no

25   reason to know, that Defendant’s Product did not have the identity and strength and meet the quality

26   characteristics that it purported to possess (i.e., the ability to alleviate nasal congestion). Not only

27   would Plaintiff not have purchased Defendant’s Products had Plaintiff known the Product did not have

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 1   the ability to alleviate nasal congestion, but Plaintiff would also not have been capable of purchasing

 2   them if Defendant had done as the law required and tested the Product for its ability to alleviate nasal

 3   congestion.

 4           52.    Consumers lack the ability to test or independently ascertain or verify whether a

 5   product has the identity and strength and meets the quality characteristics that it purports to possess,

 6   especially at the point of sale, and therefore must rely on Defendant to truthfully and honestly report

 7   what the Product can do on the Product’s packaging or labels.

 8           53.    Further, given Defendant’s position in the health and medication market as an

 9   industry leader, Plaintiff and reasonable consumers trusted and relied on Defendant’s representations

10   and omissions regarding the ability to alleviate nasal congestion in the Product.

11           54.    Yet, when consumers look at the Product’s packaging, the Product is represented as

12   having the ability to alleviate nasal congestion. This leads reasonable consumers to believe the

13   Product has the ability to alleviate nasal congestion.

14           55.    No reasonable consumer would have paid any amount for products that do not have

15   the ability to alleviate nasal congestion, when the Product is marketed to consumers as having the

16   ability to alleviate nasal congestion.

17           56.    Thus, if Plaintiff and Class members had been informed that Defendant’s Product

18   does not have the ability to alleviate nasal congestion, they would not have purchased or used the

19   Product, or would have paid significantly less for the Product, making such omitted facts material to

20   them.

21           57.    Defendant’s false, misleading, omissions, and deceptive misrepresentations regarding

22   the Product’s ability to alleviate nasal congestion are likely to continue to deceive and mislead

23   reasonable consumers and the public, as it has already deceived and misled Plaintiff and the Class

24   Members.

25           58.    Plaintiff and Class members bargained for a Product that has the ability to alleviate

26   nasal congestion. Plaintiff and Class members were injured by the full purchase price of the Product

27   because the Product is worthless, as it does not have the ability to alleviate nasal congestion, and

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 1   Defendant failed to warn consumers of this fact. Such illegally sold products are worthless and have

 2   no value.

 3          59.     As alleged above, Plaintiff and Class members’ Product does not have the ability to

 4   alleviate nasal congestion, despite the Product’s representations to the contrary.

 5          60.     Plaintiff and Class members are further entitled to statutory and punitive damages,

 6   attorneys’ fees and costs, and any further relief this Court deems just and proper.

 7                                        CLASS ALLEGATIONS

 8          61.     Plaintiff, individually and on behalf of all others, brings this class action pursuant to

 9   Fed. R. Civ. P. 23.

10          62.     Plaintiff seeks to represent a class defined as:

11                  All persons who purchased Defendant’s Product in the United States
                    for personal or household use within any applicable limitations period
12                  (“Nationwide Class”).
13
            63.     Plaintiff also seeks to represent a subclass defined as:
14
                    All persons who purchased Defendant’s Product in California for
15                  personal or household use within any applicable limitations period
                    (“California Subclass”).
16

17          64.     Excluded from the Class and Subclass are: (1) any Judge or Magistrate presiding over
18   this action and any members of their families; (2) Defendant, Defendant’s subsidiaries, parents,
19   successors, predecessors, and any entities in which Defendant or its parents and any entities in which
20   Defendant has a controlling interest and its current or former employees, officers, and directors; and
21   (3) individuals who allege personal bodily injury resulting from the use of the Product.
22          65.     Plaintiff reserves the right to modify, change, or expand the definitions of the Class
23   and/or Subclass based upon discovery and further investigation.
24          66.     Numerosity: The Class is so numerous that joinder of all members is impracticable.
25   The Class likely contains thousands of members based on publicly available data. The Class is
26   ascertainable by records in Defendant’s possession.
27

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 1          67.     Commonality: Questions of law or fact common to the Class include, without

 2   limitation:

 3                  •   Whether the Product has the ability to alleviate nasal congestion;

 4                  •   Whether a reasonable consumer would consider the Product’s inability to alleviate

 5                      nasal congestion to be material;

 6                  •   Whether Defendant knew or should have known that the Product does not have

 7                      the ability to alleviate nasal congestion;

 8                  •   Whether Defendant misrepresented whether the Product has the ability to alleviate

 9                      nasal congestion;

10                  •   Whether Defendant failed to disclose that the Product does not have the ability to

11                      alleviate nasal congestion;

12                  •   Whether Defendant concealed that the Product does not have the ability to

13                      alleviate nasal congestion;

14                  •   Whether Defendant engaged in unfair or deceptive trade practices;

15                  •   Whether Defendant violated the state consumer protection statutes alleged herein;

16                  •   Whether Defendant was unjustly enriched; and

17                  •   Whether Plaintiff and Class members are entitled to damages.

18          68.     Typicality: Plaintiff’s claims are typical of the claims of Class members. Plaintiff and

19    Class members were injured and suffered damages in substantially the same manner, have the same

20    claims against Defendant relating to the same course of conduct, and are entitled to relief under the

21    same legal theories.

22          69.     Adequacy: Plaintiff will fairly and adequately protect the interests of the Class and

23    have no interests antagonistic to those of the Class. Plaintiff has retained counsel experienced in

24    the prosecution of complex class actions, including actions with issues, claims, and defenses similar

25    to the present case. Counsel intends to vigorously prosecute this action.

26          70.     Predominance and superiority: Questions of law or fact common to Class members

27   predominate over any questions affecting individual members. A class action is superior to other

28

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 1   available methods for the fair and efficient adjudication of this case because individual joinder of all

 2   Class members is impracticable and the amount at issue for each Class member would not justify the

 3   cost of litigating individual claims. Should individual Class members be required to bring separate

 4   actions, this Court would be confronted with a multiplicity of lawsuits burdening the court system

 5   while also creating the risk of inconsistent rulings and contradictory judgments. In contrast to

 6   proceeding on a case-by-case basis, in which inconsistent results will magnify the delay and expense

 7   to all parties and the court system, this class action presents far fewer management difficulties while

 8   providing unitary adjudication, economies of scale and comprehensive supervision by a single court.

 9   Plaintiff is unaware of any difficulties that are likely to be encountered in the management of this

10   action that would preclude its maintenance as a class action.

11          71.     Accordingly, this class action may be maintained pursuant to Fed. R. Civ. P. 23(b)(3).

12                                             COUNT I
              VIOLATIONS OF THE CALIFORNIA UNFAIR COMPETITION LAW (“UCL”)
13                         Cal. Bus. & Prof. Code § 17200, et seq.
14                    (On behalf of Plaintiff and the California Subclass)
            72.     Plaintiff repeats and realleges each and every allegation contained in the foregoing
15
     paragraphs as if fully set forth herein.
16
            73.     Plaintiff brings this Count on behalf of himself and the California Subclass against
17
     Defendant.
18
            74.     The UCL prohibits any “unlawful, unfair or fraudulent business act or practice and
19
     unfair, deceptive, untrue or misleading advertising….” Cal. Bus. & Prof. Code § 17200.
20
                                         Fraudulent Acts and Practices
21
            75.     Any business act or practice that is likely to deceive members of the public constitutes
22
     a fraudulent business act or practice under the UCL. Similarly, any advertising that is deceptive,
23
     untrue or misleading constitutes a fraudulent business act or practice under the UCL.
24
            76.     Defendant has engaged in conduct that is likely to deceive members of the public.
25
     This conduct includes representing on its Product’s labels that its Product has the ability to alleviate
26
     nasal congestion.
27

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 1          77.     As alleged above, Defendant has engaged in deceptive, untrue, and misleading

 2   advertising by making representations regarding the quality of the Product and material omissions

 3   regarding the Product’s ability to alleviate nasal congestion.

 4          78.     Plaintiff and the putative Class members were exposed to one or more of these

 5   representations and/or omissions during the class period and relied on one or more of these

 6   representations and/or omissions in deciding to purchase Defendant’s Product. Indeed, although the

 7   Product was found to not have the ability to alleviate nasal congestion, Defendant makes

 8   representations on the Product’s packaging and labels to the contrary. Again, such misrepresentations

 9   and omissions mislead consumers regarding the quality of the Product.

10          79.     By committing the acts alleged above, Defendant has engaged in fraudulent business

11   acts and practices, which constitute unfair competition within the meaning of Business & Professions

12   Code §17200.

13                                       Unlawful Acts and Practices

14          80.     The violation of any law constitutes an unlawful business practice under Business &

15   Professions Code §17200.

16          81.     Defendant’s conduct also violates Cal. Health & Safety Code § 111730, which

17   prohibits the sale of any misbranded product. By selling a Product that does not accurately reflect

18   the quality of the Product, the labeling is “false and misleading in any particular” in violation of

19   Health & Safety Code § 111730.

20          82.     By violating Cal. Health and Safety Code § 111730, Defendant has engaged in

21   unlawful business acts and practices which constitute unfair competition within the meaning of Cal.

22   Bus. & Prof. Code § 17200.

23                                        Unfair Acts and Practices

24          83.     Any business practice that offends an established public policy or is immoral,

25   unethical, oppressive, unscrupulous, or substantially injurious to consumers constitutes an “unfair”

26   practice under the UCL.

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 1            84.   Defendant has engaged in unfair business practices. This conduct includes

 2   representing that the Product has the ability to alleviate nasal congestion.

 3            85.   Defendant has engaged in conduct that violates the legislatively declared policies of

 4   the FTC Act against committing unfair methods of competition and unfair or deceptive acts or

 5   practices in or affecting commerce. Defendant gained an unfair advantage over its competitors,

 6   whose advertising for products must comply with the FTC Act.

 7            86.   Defendant’s conduct, including misrepresenting the qualities of the Product, is

 8   substantially injurious to consumers.      Plaintiff and the Class would not have paid for nasal

 9   decongestant products that do not have the ability to alleviate nasal congestion but for Defendant’s

10   false labeling, advertising, and promotion. Thus, Plaintiff and the putative Class have “lost money

11   or property” as required for UCL standing, and such an injury is not outweighed by any

12   countervailing benefits to consumers or competition.

13            87.   Indeed, no benefit to consumers or competition results from Defendant’s conduct.

14   Since consumers reasonably rely on Defendant’s representation of the qualities described in the

15   Product’s labels and injury resulted from ordinary use of the Product, consumers could not have

16   reasonably avoided such injury.

17            88.   By committing the acts described above, Defendant has engaged in unfair business

18   acts and practices which constitute unfair competition within the meaning of the UCL.

19            89.   As a result of the conduct described above, Defendant has been unjustly enriched at

20   the expense of the Plaintiff and the putative Class.

21            90.   An action for restitution is specifically authorized under Cal. Bus. & Prof. Code

22   17203.

23            91.   Wherefore, Plaintiff prays for judgment against Defendant, as set forth hereafter.

24   Defendant’s conduct with respect to the labeling, advertising, marketing, and sale of the Product is

25   unfair because Defendant’s conduct was immoral, unethical, unscrupulous, or substantially injurious

26   to consumers and the utility of its conduct, if any, does not outweigh the gravity of the harm to its

27   victims.

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 1          92.     On behalf of Plaintiff and the putative Class, Plaintiff seeks an order for the restitution

 2   of all monies spent on the Product, which were acquired through acts of fraudulent, unfair, or

 3   unlawful competition. In addition, because the Product admittedly does not have the ability to

 4   alleviate nasal congestion, the measure of restitution should be rescission and full refund insofar as

 5   the Product is worthless. But for Defendant’s misrepresentations and omissions, Plaintiff would

 6   have paid nothing for Product that does not have the ability to alleviate nasal congestion. Indeed,

 7   there is no discernible “market” for an OTC nasal decongestant that does not have the ability to

 8   alleviate nasal congestion. As a result, the Product is rendered valueless.

 9          93.     Plaintiff and California Subclass Members have no adequate remedy at law for this

10   claim. Plaintiff pleads his claim for equitable relief in the alternative, which inherently would

11   necessitate a finding of no adequate remedy at law.

12          94.     Alternatively, legal remedies available to Plaintiff are inadequate because they are

13   not “equally prompt and certain and in other ways efficient” as equitable relief. American Life Ins.

14   Co. v. Stewart, 300 U.S. 203, 214 (1937); see also United States v. Bluitt, 815 F. Supp. 1314, 1317

15   (N.D. Cal. Oct. 6, 1992) (“The mere existence’ of a possible legal remedy is not sufficient to

16   warrant denial of equitable relief.”); Quist v. Empire Water Co., 2014 Cal. 646, 643 (1928) (“The

17   mere fact that there may be a remedy at law does not oust the jurisdiction of a court of equity. To

18   have this effect, the remedy must also be speedy, adequate, and efficacious to the end in view … It

19   must reach the whole mischief and secure the whole right of the party in a perfect manner at the

20   present time and not in the future.”).

21                                                COUNT II
                     VIOLATIONS OF THE CALIFORNIA FALSE ADVERTISING LAW
22                            Cal. Bus. & Prof. Code § 17500, et seq.
23                       (On behalf of Plaintiff and the California Subclass)
            95.     Plaintiff repeats and realleges each and every allegation contained in the foregoing
24
     paragraphs as if fully set forth herein.
25
            96.     Plaintiff brings this Count on behalf of himself and the California Subclass against
26
     Defendant.
27

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 1          97.     California’s False Advertising Law prohibits any statement in connection with the

 2   sale of goods “which is untrue or misleading.” Cal. Bus. & Prof. Code §17500.

 3          98.     As set forth herein, Defendant’s marketing claim that its Product is able to provide

 4   relief to “Nasal Congestion,” is untrue and misleading. To the contrary, the Product does not have

 5   the ability to alleviate nasal congestion.

 6          99.     Defendant knew, or reasonably should have known, that its claims regarding the

 7   quality of its Product and/or omissions regarding the Product’s inability to alleviate nasal congestion

 8   were untrue or misleading.

 9          100.    Plaintiff and members of the California Subclass are entitled to monetary relief, and

10   restitution in the amount they spent on the Product.

11          101.    Plaintiff and California Subclass Members have no adequate remedy at law for this

12   claim. Plaintiff pleads his claim for equitable relief in the alternative, which inherently would

13   necessitate a finding of no adequate remedy at law.

14          102.    Alternatively, legal remedies available to Plaintiff are inadequate because they are

15   not “equally prompt and certain and in other ways efficient” as equitable relief. American Life Ins.

16   Co. v. Stewart, 300 U.S. 203, 214 (1937); see also United States v. Bluitt, 815 F. Supp. 1314, 1317

17   (N.D. Cal. Oct. 6, 1992) (“The mere existence’ of a possible legal remedy is not sufficient to

18   warrant denial of equitable relief.”); Quist v. Empire Water Co., 2014 Cal. 646, 643 (1928) (“The

19   mere fact that there may be a remedy at law does not oust the jurisdiction of a court of equity. To

20   have this effect, the remedy must also be speedy, adequate, and efficacious to the end in view … It

21   must reach the whole mischief and secure the whole right of the party in a perfect manner at the

22   present time and not in the future.”).

23                                            COUNT III
              VIOLATIONS OF THE CALIFORNIA CONSUMERS LEGAL REMEDIES ACT
24                          Cal. Bus. & Prof. Code § 1750, et seq.
25                    (On behalf of Plaintiff and the California Subclass)
            103.    Plaintiff repeats and realleges each and every allegation contained in the foregoing
26
     paragraphs as if fully set forth herein.
27

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 1          104.    Plaintiff brings this Count on behalf of himself and the California Subclass against

 2   Defendant.

 3          105.    Defendant has employed or committed methods, acts, or practices declared unlawful

 4   by Cal. Civ. Code §1770 in connection with the Product.

 5          106.    In particular, by failing to inform consumers that the Product does not have the ability

 6   to alleviate nasal congestion, Defendant has violated the following provisions under California Civil

 7   Code § 1770(a):

 8                  (5) by representing that the Product has characteristics, uses and/or
                    benefits which it does not;
 9
                    (7) by representing that the Product was of a particular standard,
10                  quality, or grade which it is not; and
11                  (9) by advertising the Product with intent not to sell it as advertised.
12
            107.    Plaintiff and California Subclass Members have no adequate remedy at law for this
13
     claim. Plaintiff pleads his claim for equitable relief in the alternative, which inherently would
14
     necessitate a finding of no adequate remedy at law.
15
            108.    Alternatively, legal remedies available to Plaintiff are inadequate because they are
16
     not “equally prompt and certain and in other ways efficient” as equitable relief. American Life Ins.
17
     Co. v. Stewart, 300 U.S. 203, 214 (1937); see also United States v. Bluitt, 815 F. Supp. 1314, 1317
18
     (N.D. Cal. Oct. 6, 1992) (“The mere existence’ of a possible legal remedy is not sufficient to
19
     warrant denial of equitable relief.”); Quist v. Empire Water Co., 2014 Cal. 646, 643 (1928) (“The
20
     mere fact that there may be a remedy at law does not oust the jurisdiction of a court of equity. To
21
     have this effect, the remedy must also be speedy, adequate, and efficacious to the end in view … It
22
     must reach the whole mischief and secure the whole right of the party in a perfect manner at the
23
     present time and not in the future.”).
24
            109.    Wherefore, Plaintiff, on behalf of himself and all other members of the Class seeks
25
     to enjoin the unlawful acts and practices described herein. Plaintiff reserves the right to request
26

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 1   amendment of this complaint to include a request for damages under the CLRA after complying

 2   with Civil Code 1782(a).

 3                                                  COUNT IV
                         BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
 4                           (On behalf of Plaintiff and the Nationwide Class)
 5          110.    Plaintiff repeats and realleges each and every allegation contained in the foregoing
 6   paragraphs as if fully set forth herein.
 7          111.    Plaintiff brings this claim on behalf of himself and the Nationwide Class against
 8   Defendant.
 9          112.    At all times relevant all fifty States and the District of Columbia and Puerto Rico have
10   codified and adopted the provisions of the Uniform Commercial Code governing the implied
11   warranty of merchantability and fitness for ordinary purpose.
12          113.    Defendant was at all times a “merchant” within the meaning of Article 2 of the
13   U.C.C., as codified under applicable law.
14          114.    The Product is and was a good within the meaning of Article 2 of the U.C.C., as
15   codified under applicable law.
16          115.    Defendant was obligated to provide Plaintiff and the other Class Members a Product
17   that was of merchantable quality, was reasonably fit for the purpose for which they were sold, and
18   confirmed to the standards of the trade.
19          116.    Defendant impliedly warranted that those drugs were of merchantable quality and fit
20   for that purpose.
21          117.    Defendant breached its implied warranties, because the Product was not of
22   merchantable quality or fit for their ordinary purpose.
23          118.    Defendant’s breaches of implied warranties were a direct and proximate cause of
24   Plaintiff’s and the other Class members’ damages.
25

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 1                                                    COUNT V
                                             UNJUST ENRICHMENT
 2
                              (On behalf of Plaintiff and the Nationwide Class)
 3          119.    Plaintiff repeats and realleges each and every allegation contained in the foregoing
 4   paragraphs as if fully set forth herein.
 5          120.    Plaintiff brings this Count on behalf of Plaintiff and the Nationwide Class against
 6   Defendant.
 7          121.    This claim is brought under the laws of the State of California.
 8          122.    Defendant’s conduct violated, inter alia, state and federal law by manufacturing,
 9   advertising, marketing, and selling the Product while misrepresenting and omitting material facts.
10          123.    Defendant’s unlawful conduct allowed Defendant to knowingly realize substantial
11   revenues from selling the Product at the expense of, and to the detriment or impoverishment of,
12   Plaintiff and Class members and to Defendant’s benefit and enrichment. Defendant has thereby
13   violated fundamental principles of justice, equity, and good conscience.
14          124.    Plaintiff and Class members conferred significant financial benefits and paid
15   substantial compensation to Defendant for the Products, which were not as Defendant represented
16   them to be.
17          125.    Defendant knowingly received and enjoyed the benefits conferred on it by Plaintiff
18          and Class members.
19          126.    It is inequitable for Defendant to retain the benefits conferred by Plaintiff and Class
20   members’ overpayments.
21          127.    Plaintiff and Class members seek establishment of a constructive trust from which
22   Plaintiff and Class members may seek restitution.
23
                                            PRAYER FOR RELIEF
24
            WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, prays for
25
     relief and judgment against Defendant as follows:
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                   •   Certifying the Class pursuant to Rule 23 of the Federal Rules of Civil Procedure,
 1                     appointing Plaintiff as representatives of the Class and Subclasses, and
 2                     designating Plaintiff’s counsel as Class Counsel;

 3                 •   Awarding Plaintiff and Class members compensatory damages, in an amount to
                       be determined at trial;
 4
                   •   Awarding Plaintiff and Class members appropriate relief, including but not
 5
                       limited to actual damages;
 6
                   •   For restitution and disgorgement of profits;
 7
                   •   Awarding Plaintiff and Class members reasonable attorneys’ fees and costs as
 8                     allowable by law;
 9
                   •   Awarding pre-judgment and post-judgment interest;
10
                   •   For punitive damages; and
11

12                 •   Granting any other relief as this Court may deem just and proper.

13                                     DEMAND FOR JURY TRIAL

14         Plaintiff hereby demands a jury trial on all issues so triable as of right.
15
     Dated: October 19, 2023                       Respectfully submitted,
16
                                                   BURSOR & FISHER, P.A.
17

18                                                 By:         /s/ Sarah N. Westcot
19                                                                 Sarah N. Westcot

20                                                 Sarah N. Westcot (State Bar No. 264916)
                                                   701 Brickell Ave., Suite 1420
21                                                 Miami, FL 33131-2800
                                                   Telephone: (305) 330-5512
22                                                 Facsimile: (305) 676-9006
                                                   E-Mail: swestcot@bursor.com
23
                                                   BURSOR & FISHER, P.A.
24                                                 L. Timothy Fisher (State Bar No. 191626)
                                                   1990 North California Blvd., Suite 940
25                                                 Walnut Creek, CA 94596
                                                   Telephone: (925) 300-4455
26                                                 Facsimile: (925) 407-2700
                                                   E-Mail: ltfisher@bursor.com
27
                                                   Counsel for Plaintiff
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 1            CLRA Venue Declaration Pursuant to California Civil Code Section 1780(d)

 2          I, Sarah N. Westcot, declare as follows:

 3          1.      I am an attorney at law licensed to practice in the State of California and a member

 4   of the bar of this Court. I am a partner at Bursor & Fisher, P.A., counsel of record for Plaintiff.

 5   Plaintiff Flores resides in San Jose, California. I have personal knowledge of the facts set forth in

 6   this declaration and, if called as a witness, I could and would competently testify thereto under oath.

 7          2.      The Complaint filed in this action is filed in the proper place for trial under Civil Code

 8   Section 1780(d) in that a substantial portion of the events alleged in the Complaint occurred in the

 9   Northern District of California, as Plaintiff purchased his Product within this District. Additionally,

10   Defendant advertised, marketed, manufactured, distributed, and/or sold the Product at issue to Class

11   Members from this District.

12          I declare under the penalty of perjury under the laws of the State of California and the United

13   States that the foregoing is true and correct and that this declaration was executed at Miami, Florida

14   this 19th day of October, 2023.

15
                                                          /s/ Sarah N. Westcot
16                                                       Sarah N. Westcot
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 Sarah N. Westcot, Bursor & Fisher, P.A.
 701 Brickell Ave., Suite 1420, Miami, FL 33131-2800, Tel. (305) 330-5512

,,         %$6,62)-85,6',&7,21(Place an “X” in One Box Only)                                  ,,, &,7,=(16+,32)35,1&,3$/ 3$57,(6 (Place an “X” in One Box for Plaintiff
                                                                                                       (For Diversity Cases Only)                                       and One Box for Defendant)
                                                                                                                                            37)       '()                                       37)      '()
          86 *RYHUQPHQW3ODLQWLII           )HGHUDO 4XHVWLRQ                                  &LWL]HQRI7KLV6WDWH                               ,QFRUSRUDWHG or3ULQFLSDO3ODFH             
                                                   (U.S. Government Not a Party)
                                                                                                                                                              RI%XVLQHVV,Q7KLV6WDWH
                                                                                                      &LWL]HQ RI$QRWKHU6WDWH                            ,QFRUSRUDWHG and3ULQFLSDO3ODFH           
          86 *RYHUQPHQW'HIHQGDQW             'LYHUVLW\                                                                                                 RI%XVLQHVV ,Q$QRWKHU6WDWH
                                                  (Indicate Citizenship of Parties in Item III)
                                                                                                      &LWL]HQ RU6XEMHFWRID                            )RUHLJQ1DWLRQ                             
                                                                                                      )RUHLJQ&RXQWU\

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          &2175$&7                                                      72576                                   )25)(,785(3(1$/7<                        %$1.5837&<                     27+(567$787(6
   ,QVXUDQFH                           3(5621$/,1-85<                    3(5621$/,1-85<                 'UXJ 5HODWHG 6HL]XUHRI          $SSHDO 86&          )DOVH&ODLPV $FW
   0DULQH                                                                                                       3URSHUW\ 86&            :LWKGUDZDO86&           4XL7DP 86&
                                         $LUSODQH                        3HUVRQDO,QMXU\ ±3URGXFW
   0LOOHU$FW                                                                /LDELOLW\                     2WKHU                                                             D
                                          $LUSODQH3URGXFW/LDELOLW\
    1HJRWLDEOH,QVWUXPHQW                                                +HDOWK &DUH                             /$%25                       3523(57<5,*+76               6WDWH5HDSSRUWLRQPHQW
                                         $VVDXOW /LEHO 6ODQGHU
   5HFRYHU\ RI                                                              3KDUPDFHXWLFDO3HUVRQDO                                                                             $QWLWUXVW
                                         )HGHUDO(PSOR\HUV¶                                                 )DLU/DERU6WDQGDUGV $FW         &RS\ULJKWV
       2YHUSD\PHQW2I                                                           ,QMXU\3URGXFW/LDELOLW\                                                                             %DQNV DQG %DQNLQJ
                                             /LDELOLW\                                                         /DERU0DQDJHPHQW                3DWHQW
       9HWHUDQ¶V%HQHILWV                                                   $VEHVWRV 3HUVRQDO,QMXU\                                                                             &RPPHUFH
                                         0DULQH                                                                 5HODWLRQV                        3DWHQWņ$EEUHYLDWHG1HZ
   0HGLFDUH$FW                                                             3URGXFW/LDELOLW\
                                          0DULQH3URGXFW /LDELOLW\                                          5DLOZD\ /DERU$FW                     'UXJ $SSOLFDWLRQ            'HSRUWDWLRQ
   5HFRYHU\ RI'HIDXOWHG                                                3(5621$/3523(57<                                                                                       5DFNHWHHU,QIOXHQFHG
                                         0RWRU9HKLFOH                                                      )DPLO\ DQG0HGLFDO               7UDGHPDUN
       6WXGHQW /RDQV ([FOXGHV                                                2WKHU)UDXG                                                                                              &RUUXSW 2UJDQL]DWLRQV
                                         0RWRU9HKLFOH3URGXFW                                                 /HDYH$FW                       'HIHQG7UDGH6HFUHWV
       9HWHUDQV                                                              7UXWKLQ /HQGLQJ
                                             /LDELOLW\                                                         2WKHU/DERU/LWLJDWLRQ              $FWRI                 &RQVXPHU&UHGLW
   5HFRYHU\ RI                                                          2WKHU3HUVRQDO3URSHUW\
                                         2WKHU3HUVRQDO,QMXU\                                              (PSOR\HH5HWLUHPHQW                                              7HOHSKRQH&RQVXPHU
       2YHUSD\PHQW                                                                                                                                    62&,$/6(&85,7<
                                                                                 'DPDJH                             ,QFRPH6HFXULW\$FW                                                  3URWHFWLRQ $FW
    RI9HWHUDQ¶V%HQHILWV                3HUVRQDO ,QMXU\0HGLFDO                                                                               +,$ II
                                             0DOSUDFWLFH                    3URSHUW\ 'DPDJH3URGXFW                                                                             &DEOH6DW79
   6WRFNKROGHUV¶ 6XLWV                                                       /LDELOLW\                           ,00,*5$7,21                    %ODFN/XQJ               6HFXULWLHV&RPPRGLWLHV
   2WKHU&RQWUDFW                                                                                            1DWXUDOL]DWLRQ                   ',:&',::  J                  ([FKDQJH
                                              &,9,/5,*+76                  35,621(53(7,7,216
   &RQWUDFW3URGXFW /LDELOLW\                                                                                   $SSOLFDWLRQ                     66,'7LWOH;9,
                                          2WKHU&LYLO5LJKWV                                                                                                                      2WKHU6WDWXWRU\ $FWLRQV
                                                                                +$%($6&25386                   2WKHU,PPLJUDWLRQ
   )UDQFKLVH                                                                                                                                     56,  J                    $JULFXOWXUDO $FWV
                                          9RWLQJ                         $OLHQ'HWDLQHH                     $FWLRQV
           5($/3523(57<                 (PSOR\PHQW                                                                                             )('(5$/7$;68,76               (QYLURQPHQWDO0DWWHUV
                                                                              0RWLRQVWR 9DFDWH
   /DQG &RQGHPQDWLRQ                  +RXVLQJ                            6HQWHQFH                                                             7D[HV 863ODLQWLII RU     )UHHGRP RI,QIRUPDWLRQ
                                             $FFRPPRGDWLRQV                                                                                              'HIHQGDQW                       $FW
   )RUHFORVXUH                                                           *HQHUDO
                                         $PHUZ'LVDELOLWLHV±                                                                                   ,56±7KLUG3DUW\  86&      $UELWUDWLRQ
   5HQW/HDVH (MHFWPHQW                                               'HDWK3HQDOW\
                                             (PSOR\PHQW                                                                                                                        $GPLQLVWUDWLYH3URFHGXUH
    7RUWV WR/DQG                                                                 27+(5
                                         $PHUZ'LVDELOLWLHV±2WKHU                                                                                                                  $FW5HYLHZ RU$SSHDORI
   7RUW3URGXFW/LDELOLW\                                                0DQGDPXV 2WKHU                                                                                          $JHQF\'HFLVLRQ
   $OO2WKHU5HDO 3URSHUW\           (GXFDWLRQ
                                                                             &LYLO5LJKWV                                                                                          &RQVWLWXWLRQDOLW\ RI6WDWH
                                                                              3ULVRQ&RQGLWLRQ                                                                                        6WDWXWHV
                                                                             &LYLO'HWDLQHH±
                                                                                 &RQGLWLRQVRI
                                                                                 &RQILQHPHQW

9            25,*,1(Place an “X” in One Box Only)
          2ULJLQDO                    5HPRYHGIURP                    5HPDQGHGIURP             5HLQVWDWHGRU             7UDQVIHUUHGIURP                 0XOWLGLVWULFW          0XOWLGLVWULFW
           3URFHHGLQJ                   6WDWH&RXUW                     $SSHOODWH&RXUW             5HRSHQHG                  $QRWKHU'LVWULFW (specify)        /LWLJDWLRQ±7UDQVIHU     /LWLJDWLRQ±'LUHFW)LOH


9,           &$86(2) &LWHWKH86&LYLO6WDWXWHXQGHUZKLFK\RXDUHILOLQJ(Do not cite jurisdictional statutes unless diversity)
                         28 U.S.C. § 1332(d)
              $&7,21
                                 %ULHIGHVFULSWLRQRIFDXVH
                                  Defendant fraudulently advertises their decongestant products containing phenylephrine.
9,,          5(48(67(',1 ✔ &+(&.,)7+,6 ,6$&/$66$&7,21                                          '(0$1' 5,000,000.00 +                         &+(&.<(6RQO\LIGHPDQGHGLQFRPSODLQW
              &203/$,17     81'(5 58/()HG5&LY3                                                                                           -85<'(0$1'             <HV      1R

9,,, 5(/$7(' &$6( 6                                       -8'*(                                                      '2&.(7180%(5
      ,)$1< (See instructions):
,;          ',9,6,21$/$66,*10(17 &LYLO/RFDO5XOH
 3ODFHDQ³;´LQ2QH%R[2QO\    6$1)5$1&,6&22$./$1'                                                                            6$1-26(                        (85(.$0&.,1/(<9,//(


'$7( 10/19/2023                                             6,*1$785(2)$77251(<2)5(&25'                                                 /s/ Sarah N. Westcot
